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 1                                                          THE HONORABLE JAMES L. ROBART
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 7
                               UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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10
      AUBRY MCMAHON,
11                                                           CASE NO. 2:21-CV-00920-JLR
                       Plaintiff,
12                                                           STIPULATED PROTECTIVE ORDER
               vs.
13

14    WORLD VISION, INC.

15                    Defendant.
16

17
     1.       PURPOSES AND LIMITATIONS
18
              Discovery in this action is likely to involve production of confidential, proprietary, or
19
     private information for which special protection may be warranted. Accordingly, the parties
20
     hereby stipulate to and petition the court to enter the following Stipulated Protective Order. The
21
     parties acknowledge that this agreement is consistent with LCR 26(c). It does not confer blanket
22
     protection on all disclosures or responses to discovery; the protection it affords from public
23
     disclosure and use extends only to the limited information or items that are entitled to
24
     confidential treatment under applicable legal principles; and it does not presumptively entitle
25
     parties to file confidential information under seal.
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 1   2.       “CONFIDENTIAL” MATERIAL

 2            “Confidential” material shall include the following documents and tangible things

 3   produced or otherwise exchanged: Board of Directors Meeting Minutes; Bylaws and other Non-

 4   Public Corporate Policies; Insurance Policies; Pages from Internal (Non-Public) Intra-Net;

 5   Internal (Non-Public) Emails; Internal (Non-Public) Systems and Applications; Non-Public

 6   Personally Identifying Information; Non-Public Information Received From Other Religious

 7   and Charitable Organizations; and Non-Public Information Regarding Individuals in Other

 8   Nations Who May Be At Risk of Harm from Public Disclosure.

 9   3.       SCOPE

10            The protections conferred by this agreement cover not only confidential material (as

11   defined above), but also (1) any information copied or extracted from confidential material; (2)

12   all copies, excerpts, summaries, or compilations of confidential material; and (3) any testimony,

13   conversations, or presentations by parties or their counsel that might reveal confidential

14   material.

15            However, the protections conferred by this agreement do not cover information that is

16   in the public domain or becomes part of the public domain through trial or otherwise.

17   4.       ACCESS TO AND USE OF CONFIDENTIAL MATERIAL

18            4.1    Basic Principles. A receiving party may use confidential material that is

19   disclosed or produced by another party or by a non-party in connection with this case only for

20   prosecuting, defending, or attempting to settle this litigation. Confidential material may be

21   disclosed only to the categories of persons and under the conditions described in this agreement.

22   Confidential material must be stored and maintained by a receiving party at a location and in a

23   secure manner that ensures that access is limited to the persons authorized under this agreement.

24            4.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

25   ordered by the court or permitted in writing by the designating party, a receiving party may

26   disclose any confidential material only to:

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 1                   (a)     the receiving party’s counsel of record in this action, as well as

 2   employees of counsel to whom it is reasonably necessary to disclose the information for this

 3   litigation;

 4                   (b)     the officers, directors, and employees (including in house counsel) of the

 5   receiving party to whom disclosure is reasonably necessary for this litigation, unless the parties

 6   agree that a particular document or material produced is for Attorney’s Eyes Only and is so

 7   designated;

 8                   (c)     experts and consultants to whom disclosure is reasonably necessary for

 9   this litigation and who have signed the “Acknowledgment and Agreement to Be Bound”

10   (Exhibit A);

11                   (d)     the court, court personnel, and court reporters and their staff;

12                   (e)     copy or imaging services retained by counsel to assist in the duplication

13   of confidential material, provided that counsel for the party retaining the copy or imaging

14   service instructs the service not to disclose any confidential material to third parties and to

15   immediately return all originals and copies of any confidential material;

16                   (f)     during their depositions, witnesses in the action to whom disclosure is

17   reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”

18   (Exhibit A), unless otherwise agreed by the designating party or ordered by the court. Pages of

19   transcribed deposition testimony or exhibits to depositions that reveal confidential material

20   must be separately bound by the court reporter and may not be disclosed to anyone except as

21   permitted under this agreement;

22                   (g)     the author or recipient of a document containing the information or a

23   custodian or other person who otherwise possessed or knew the information.

24           4.3     Filing Confidential Material. Before filing confidential material or discussing or

25   referencing such material in court filings, the filing party shall confer with the designating party,

26   in accordance with Local Civil Rule 5(g)(3)(A), to determine whether the designating party will

27   remove the confidential designation, whether the document can be redacted, or whether a

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 1   motion to seal or stipulation and proposed order is warranted. During the meet and confer

 2   process, the designating party must identify the basis for sealing the specific confidential

 3   information at issue, and the filing party shall include this basis in its motion to seal, along with

 4   any objection to sealing the information at issue. Local Civil Rule 5(g) sets forth the procedures

 5   that must be followed and the standards that will be applied when a party seeks permission from

 6   the court to file material under seal. A party who seeks to maintain the confidentiality of its

 7   information must satisfy the requirements of Local Civil Rule 5(g)(3)(B), even if it is not the

 8   party filing the motion to seal. Failure to satisfy this requirement will result in the motion to

 9   seal being denied, in accordance with the strong presumption of public access to the Court’s

10   files.

11   5.       DESIGNATING PROTECTED MATERIAL

12            5.1    Exercise of Restraint and Care in Designating Material for Protection. Each

13   party or non-party that designates information or items for protection under this agreement must

14   take care to limit any such designation to specific material that qualifies under the appropriate

15   standards. The designating party must designate for protection only those parts of material,

16   documents, items, or oral or written communications that qualify, so that other portions of the

17   material, documents, items, or communications for which protection is not warranted are not

18   swept unjustifiably within the ambit of this agreement.

19            Mass, indiscriminate, or routinized designations are prohibited. Designations that are

20   shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

21   unnecessarily encumber or delay the case development process or to impose unnecessary

22   expenses and burdens on other parties) expose the designating party to sanctions.

23            If it comes to a designating party’s attention that information or items that it designated

24   for protection do not qualify for protection, the designating party must promptly notify all other

25   parties that it is withdrawing the mistaken designation.

26            5.2    Manner and Timing of Designations. Except as otherwise provided in this

27   agreement (see, e.g., second paragraph of section 5.2(b) below), or as otherwise stipulated or

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 1   ordered, disclosure or discovery material that qualifies for protection under this agreement must

 2   be clearly so designated before or when the material is disclosed or produced.

 3                  (a)     Information in documentary form: (e.g., paper or electronic documents

 4   and deposition exhibits, but excluding transcripts of depositions or other pretrial or trial

 5   proceedings), the designating party must affix the word “CONFIDENTIAL” to each page that

 6   contains confidential material. If only a portion or portions of the material on a page qualifies

 7   for protection, the producing party also must clearly identify the protected portion(s) (e.g., by

 8   making appropriate markings in the margins).

 9                  (b)     Testimony given in deposition or in other pretrial proceedings: the

10   parties and any participating non-parties must identify on the record, during the deposition or

11   other pretrial proceeding, all protected testimony, without prejudice to their right to so designate

12   other testimony after reviewing the transcript. Any party or non-party may, within fifteen days

13   after receiving the transcript of the deposition or other pretrial proceeding, designate portions

14   of the transcript, or exhibits thereto, as confidential. If a party or non-party desires to protect

15   confidential information at trial, the issue should be addressed during the pre-trial conference.

16                  (c)     Other tangible items: the producing party must affix in a prominent place

17   on the exterior of the container or containers in which the information or item is stored the word

18   “CONFIDENTIAL.” If only a portion or portions of the information or item warrant protection,

19   the producing party, to the extent practicable, shall identify the protected portion(s).

20            5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

21   designate qualified information or items does not, standing alone, waive the designating party’s

22   right to secure protection under this agreement for such material. Upon timely correction of a

23   designation, the receiving party must make reasonable efforts to ensure that the material is

24   treated in accordance with the provisions of this agreement.

25   6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS

26            6.1   Timing of Challenges. Any party or non-party may challenge a designation of

27   confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality

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 1   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

 2   burdens, or a significant disruption or delay of the litigation, a party does not waive its right to

 3   challenge a confidentiality designation by electing not to mount a challenge promptly after the

 4   original designation is disclosed.

 5            6.2    Meet and Confer. The parties must make every attempt to resolve any dispute

 6   regarding confidential designations without court involvement. Any motion regarding

 7   confidential designations or for a protective order must include a certification, in the motion or

 8   in a declaration or affidavit, that the movant has engaged in a good faith meet and confer

 9   conference with other affected parties in an effort to resolve the dispute without court action.

10   The certification must list the date, manner, and participants to the conference. A good faith

11   effort to confer requires a face-to-face meeting or a telephone conference.

12            6.3    Judicial Intervention. If the parties cannot resolve a challenge without court

13   intervention, the designating party may file and serve a motion to retain confidentiality under

14   Local Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable). The burden of

15   persuasion in any such motion shall be on the designating party. Frivolous challenges, and those

16   made for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on

17   other parties) may expose the challenging party to sanctions. All parties shall continue to

18   maintain the material in question as confidential until the court rules on the challenge.

19   7.       PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

20   LITIGATION

21            If a party is served with a subpoena or a court order issued in other litigation that

22   compels disclosure of any information or items designated in this action as

23   “CONFIDENTIAL,” that party must:

24                   (a)    promptly notify the designating party in writing and include a copy of

25   the subpoena or court order;

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 1                   (b)     promptly notify in writing the party who caused the subpoena or order to

 2   issue in the other litigation that some or all of the material covered by the subpoena or order is

 3   subject to this agreement. Such notification shall include a copy of this agreement; and

 4                   (c)     cooperate with respect to all reasonable procedures sought to be pursued

 5   by the designating party whose confidential material may be affected.

 6   8.       UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

 7            If a receiving party learns that, by inadvertence or otherwise, it has disclosed

 8   confidential material to any person or in any circumstance not authorized under this agreement,

 9   the receiving party must immediately (a) notify in writing the designating party of the

10   unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the

11   protected material, (c) inform the person or persons to whom unauthorized disclosures were

12   made of all the terms of this agreement, and (d) request that such person or persons execute the

13   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

14   9.       INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

15   MATERIAL

16            When a producing party gives notice to receiving parties that certain inadvertently

17   produced material is subject to a claim of privilege or other protection, the obligations of the

18   receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This

19   provision is not intended to modify whatever procedure may be established in an e-discovery

20   order or agreement that provides for production without prior privilege review. The parties

21   agree to the entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein.

22   10.      NON TERMINATION AND RETURN OF DOCUMENTS

23            Within 60 days after the termination of this action, including all appeals, each receiving

24   party must return all confidential material to the producing party, including all copies, extracts

25   and summaries thereof. Alternatively, the parties may agree upon appropriate methods of

26   destruction.

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 1          Notwithstanding this provision, counsel are entitled to retain one archival copy of all

 2   documents filed with the court, trial, deposition, and hearing transcripts, correspondence,

 3   deposition and trial exhibits, expert reports, attorney work product, and consultant and expert

 4   work product, even if such materials contain confidential material.

 5          The confidentiality obligations imposed by this agreement shall remain in effect until a

 6   designating party agrees otherwise in writing or a court orders otherwise.

 7                IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD

 8    DATED this July 13, 2022                       DATED this July 6, 2022
 9
      ELLIS, LI & McKINSTRY PLLC                     NISAR LAW GROUP, P.C.
10
      By:    s/ Nathaniel L. Taylor                  By:    s/Casimir Wolnowski
11    Nathaniel L. Taylor, WSBA No. 27174            Casimir Wolnowski, admitted pro hac vice
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13    Seattle, WA 98101-1820                         New York, NY 10165
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15    Email: ntaylor@elmlaw.com                      Email: cwolnowski@nisarlaw.com
      Email: asthilaire@elmlaw.com
16
      DATED this July 13, 2022                       DATED this July 7, 2022
17

18    GAMMON & GRANGE, P.C.                          FRANK FREED SUBIT & THOMAS LLP
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      Telephone: (703) 761-5012
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      Email: SJW@gg-law.com
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      Attorneys for Defendant
26    World Vision, Inc.
27

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 1          PURSUANT TO STIPULATION, IT IS SO ORDERED
 2          IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of

 3   any documents in this proceeding shall not, for the purposes of this proceeding or any other

 4   federal or state proceeding, constitute a waiver by the producing party of any privilege

 5   applicable to those documents, including the attorney-client privilege, attorney work-product

 6   protection, or any other privilege or protection recognized by law.

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 8   DATED this 13th day of July, 2022.
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11
                                                          A
                                                          JUDGE JAMES L. ROBART
                                                          United States District Court Judge
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 2                                              EXHIBIT A

 3                   ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 4            I, ____________________________________ [print or type full name], of

 5   ____________________________________ [print or type full address], declare under penalty

 6   of perjury that I have read in its entirety and understand the Stipulated Protective Order that

 7   was issued by the United States District Court for the Western District of Washington on

 8   ________ in the case of ________________ Aubry McMahon v. World Vision, Inc. Case

 9   No. 2:21-cv-00920-JLR I agree to comply with and to be bound by all the terms of this

10   Stipulated Protective Order and I understand and acknowledge that failure to so comply could

11   expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I

12   will not disclose in any manner any information or item that is subject to this Stipulated

13   Protective Order to any person or entity except in strict compliance with the provisions of this

14   Order.

15            I further agree to submit to the jurisdiction of the United States District Court for the

16   Western District of Washington for the purpose of enforcing the terms of this Stipulated

17   Protective Order, even if such enforcement proceedings occur after termination of this action.

18   Date:

19   City and State where sworn and signed:

20   Printed name:

21   Signature:

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